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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AECOM ENERGY & CONSTRUCTION,
 INC.,

                          Plaintiff,
                                                   Case No. 20-2016 C
                  v.
                                                   Judge Silfen
 THE UNITED STATES OF AMERICA,

                          Defendant.


              JOINT STATUS REPORT REGARDING STATUS OF DISCOVERY

        The parties, plaintiff AECOM Energy & Construction, Inc., formerly known as URS

Energy & Construction, Inc. (“URS”), and defendant the United States of America (the

“Government”), have been conducting discovery under a scheduling order that requires them to

jointly submit a status report every 30 days updating the court on the progress of discovery. ECF

No. 50. The parties therefore respectfully submit this joint status report updating the Court on

the status of their efforts.

        Since the parties’ last status report, in which the parties reported that URS had served two

deposition notices under Court of Federal Claims Rule 30(b)(6) and eight deposition notices for

individual fact witnesses, the Government has served a deposition notice under Rule 30(b)(6) for

the deposition of URS and nine deposition notices for individual fact witnesses. URS has

provided responses and objections to the Government’s Rule 30(b)(6) notice of URS. The Rule

30(b)(6) deposition of the Department of Energy took place in Schenectady, New York, during

the week of October 7, 2024. The parties have identified proposed dates for the depositions of

four of the individual witness depositions noticed by the Government and three of the individual
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witnesses whose depositions were noticed by URS. The parties continue to confer about the

scheduling of additional depositions.

       The parties are also in the process of discussing a modest extension of the current

discovery schedule and intend to file a motion seeking the Court’s approval of a revised schedule

later this week.


Respectfully submitted,


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                                  Trial/Procurement Counsel Office of Chief Counsel
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                                  Center
                                  U.S. Department of Energy

Dated: October 15, 2024
